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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

                                                       Case No.:

ALLISSON VICTOR DOS SANTOS,

      Plaintiff,                                                                                COMPLAINT
v.

EQUIFAX INFORMATION SERVICES
LLC,   EXPERIAN   INFORMATION
SOLUTIONS, INC., TRANS UNION
LLC, and PROCOLLECT INC,

                                                                             DEMAND FOR JURY TRIAL
     Defendants.
_______________________________________/

                                                   COMPLAINT

      Plaintiff, Allisson Victor Dos Santos (“Plaintiff”), by and through counsel,

files this Complaint against Equifax Information Services LLC, (“Defendant

Equifax” or “Equifax”), Experian Information Solutions, Inc., (“Defendant

Experian” or “Experian”), Trans Union LLC, (“Defendant Trans Union” or “Trans

Union”), and Defendant ProCollect Inc, (“Defendant ProCollect” or “ProCollect”),

pursuant to the Fair Credit Reporting Act, 15 USC §1681 et seq. (“FCRA”).

                                    JURISDICTION AND VENUE

      1.         Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C.

§ 1331, and 28 U.S.C. § 1337.

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       2.         Venue in this District is proper because Plaintiff resides here,

Defendants transact business here, and the complained conduct of Defendants

occurred here.

                                      DEMAND FOR JURY TRIAL

       3.         Plaintiff, respectfully, demands a trial by jury on all counts and issues

so triable.

                                                       PARTIES

       4.         Plaintiff is a natural person, and a citizen of the State of Florida,

residing in Orange County, Florida.

       5.         Defendant Equifax is a Georgia Limited Liability Company whose

registered agent in Florida is Corporation Service Company, 1201 Hays Street,

Tallahassee, FL 32301. Equifax is a consumer reporting agency (“CRA”) as defined

by FCRA, 15 USC §1681a(f).

       6.         Defendant Experian is an Ohio corporation whose registered agent in

Florida is CT Corporation System, 1200 South Pine Island Road, Plantation, Florida

33324. Experian is a consumer reporting agency (“CRA”) as defined by FCRA, 15

USC §1681a(f).

       7.         Defendant Trans Union is an Illinois corporation whose registered

agent in Florida is Corporation Service Company, 1201 Hays Street, Tallahassee,

Florida 32301. Trans Union is a consumer reporting agency (“CRA”) as defined by


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FCRA, 15 USC §1681a(f).

      8.         Defendant ProCollect is a Texas corporation whose registered agent in

Florida is Registered Agent Solutions, Inc., 2894 Remington Green Lane, Suite A,

Tallahassee, Florida 32308. ProCollect is a company that specializes in debt

collection services.

                                      GENERAL ALLEGATIONS

      9.         This action involves derogatory and inaccurate reporting of an account

(the “Account”) by Defendant ProCollect to Plaintiff’s credit profile.

      10.        In or around September of 2022, Plaintiff applied for a lease with 55

West Apartment Complex.

      11.        However, Plaintiff chose to live at another apartment complex and 55

West Apartment Complex refunded Plaintiff the $300 deposit that Plaintiff paid with

his application.

      12.        Plaintiff was not able to deposit the check before it became void and

requested 55 West Apartment Complex reissue him the check.

      13.        When Plaintiff requested that 55 West Apartment Complex reissue the

check, their internal system registered that Plaintiff owed them $300 instead.

      14.        As a result, Plaintiff was automatically and immediately placed in

collections, which he only discovered when he pulled his credit reports.



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      15.     ProCollect furnished the information that Plaintiff owed $300 to the

CRAs as it is trying to collect the alleged debt on behalf 55 West Apartment

Complex.

      16.     In or about mid-November 2023, Plaintiff requested a copy of his credit

report from Defendant Experian. The Experian Report erroneously listed the

Account and the Account’s balance as $300.

      17.     On or about late November 2023, Plaintiff submitted a dispute to

Defendant Experian because the Experian Report erroneously listed the Account and

the Account’s balance as $300.

      18.     On December 6, 2023, Experian verified the Account and indicated that

ProCollect certified to Experian that the information was accurate.

      19.     In or about mid-November 2023, Plaintiff requested a copy of his credit

report from Defendant Equifax. The Equifax Report erroneously listed the Account

and the Account’s balance as $300.

      20.     On or about late November 2023, Plaintiff submitted a dispute to

Defendant Equifax because the Equifax Report erroneously listed the Account and

the Account’s balance as $300.

      21.     On December 7, 2023, Equifax verified the Account and indicated that

ProCollect certified to Equifax that the information was accurate.


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       22.     In or about late September 2023, Plaintiff requested a copy of his credit

report from Defendant Trans Union. The Trans Union Report erroneously listed the

Account and the Account’s balance as $300.

       23.     In or about late September 2023, Plaintiff submitted a dispute to

Defendant Trans Union because the Trans Union Report erroneously listed the

Account and the Account’s balance as $300.

       24.     On October 18, 2023, Trans Union verified the Account and indicated

that ProCollect certified to Trans Union that the information was accurate.

       25.     As of the filing of this complaint, Defendant Experian, Defendant

Equifax, and Defendant Trans Union are still reporting the Account inaccurately on

Plaintiff’s credit reports.

                          COUNT 1
    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                     (Against Defendant Equifax)

       26.     Plaintiff incorporates by reference paragraphs ¶¶ 1-25 of this

Complaint.

       27.     Defendant Equifax prepared and issued consumer credit reports

concerning Plaintiff which previously included inaccurate and derogatory reporting

of the Account by Defendant ProCollect and continues to include the same

information concerning inaccurate and derogatory reporting of the Account by

Defendant ProCollect.
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       28.       In or around November of 2023, Plaintiff checked his credit report and

noticed that there was an inaccurate report from Defendant ProCollect. Therefore, in

or around late November of 2023, Plaintiff reported this inaccurate and derogatory

information to Equifax.

       29.       Defendant ProCollect erroneously verified the Account and the

Account’s balance of $300. Despite Equifax having been put on notice of the

inaccurate reporting, Equifax did not remove the account from Plaintiff’s Equifax

credit report.

       30.       As of the filing of this complaint, Defendant ProCollect’s derogatory

and inaccurate information is still listed on Plaintiff’s Equifax credit report.

       31.       Equifax is engaged in the business of credit reporting and is commonly

referred to as a “Credit Bureau.” Equifax regularly obtains and analyzes financial

information about consumer transactions or experiences with any consumer.

       32.       Equifax is a “consumer reporting agency” of consumers, as defined by

§ 1681a(f), and compiles the information into “credit reports,” which it provides to

third parties.

       33.       Despite Equifax having received Plaintiff’s dispute of Defendant

ProCollect’s information, Equifax continues to erroneously list the Account and the

Account’s balance as $300.

       34.       Continuing to report the status of Plaintiff’s account in this fashion is


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significant.

       35.     By continuing to report the status of Plaintiff’s account in this fashion,

lenders believe Plaintiff has a major delinquency which reflects on Plaintiff’s

creditworthiness by impacting his credit score negatively.

       36.     Credit scoring algorithms take Plaintiff’s account status into

consideration when generating a credit score and showing this incorrect account

status would cause a lower credit score to be generated.

       37.     Equifax          failed       to      conduct         a     reasonable           investigation        and

reinvestigation.

       38.     Equifax failed to review and consider all relevant information

submitted by Plaintiff.

       39.     Equifax failed to conduct an independent investigation and, instead,

deferred to ProCollect, when they permitted the derogatory information to remain

on Plaintiff’s credit report after Plaintiff’s dispute.

       40.     Equifax possessed evidence that the information was inaccurate as

described by Plaintiff in the Dispute; however, Equifax failed to correct the

information.

       41.     Equifax’s reporting of inaccurate information about the Account, which

is the subject of the Dispute, despite evidence that said information is inaccurate

demonstrates Equifax’s failure to establish or follow reasonable procedures to assure


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the maximum possible accuracy of Plaintiff’s credit reports and file.

       42.     Equifax did not conduct any independent investigation after it received

Plaintiff’s dispute and, instead, chose to parrot the information it received from

Defendant ProCollect despite being in possession of evidence that the information

was inaccurate.

       43.     Without any explanation or reason, Equifax continues to report this

false, inaccurate, or otherwise incomplete information, about Plaintiff.

       44.     Plaintiff has suffered damages as a result of the incorrect reporting and

Equifax’s failure to correct the credit report pertaining to Plaintiff.

       45.     Specifically, Plaintiff was denied a student loan because of the

inaccurate reporting of the Account, which should not even be on Plaintiff’s Equifax

report because of 55 West Apartments Complex’s mistake in reporting the $300

refund via check as a charge on his Equifax report.

       46.     On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or

follow reasonable procedures to assure the maximum possible accuracy in the

preparation of the credit reports and credit files published and maintained concerning

Plaintiff.

       47.     Equifax failed to establish or follow reasonable procedures to assure

the maximum possible accuracy of Plaintiff’s credit reports and credit files when


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investigating Plaintiff’s disputes of the information contained in Plaintiff’s Equifax

credit report.

         48.    Equifax’s procedures were per se deficient by reason of these failures

in ensuring the maximum possible accuracy of Plaintiff’s credit reports and credit

files.

         49.    Equifax has willfully and recklessly failed to comply with the FCRA.

The failures of Equifax to comply with the FCRA include, but are not limited to, the

following: [a] the failure to follow reasonable procedures to assure the maximum

possible accuracy of the information reported; [b] the failure to correct erroneous

personal information regarding Plaintiff after a reasonable request by Plaintiff; [c]

the failure to remove and/or correct the inaccuracy and                                            derogatory credit

information after a reasonable request by Plaintiff; [d] the failure to promptly and

adequately investigate information which Equifax had notice was inaccurate; [e] the

continual placement of inaccurate information into the credit report of Plaintiff after

being advised by Plaintiff that the information was inaccurate; [f] the failure to note

in the credit report that Plaintiff disputed the accuracy of the information; [g] the

failure to promptly delete information that was found to be inaccurate, or could not

be verified, or that the source of information had advised Equifax to delete; and [h]

the failure to take adequate steps to verify information Equifax had reason to believe

was inaccurate before including it in the credit report of the consumer.


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      50.     The conduct, action and inaction of Equifax was willful, thereby

rendering Equifax liable for actual, statutory, and punitive damages, in an amount to

be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      51.     Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

      52.     The appearance of the account on Plaintiff’s credit report, namely, the

account identified by Plaintiff in Plaintiff’s dispute to Equifax, was the direct and

proximate result of Equifax’s willful failure to maintain reasonable procedures to

assure the maximum possible accuracy of Plaintiff’s credit report in violation of the

15 U.S.C. § 1681e(b).

      53.     As a result of the conduct, action, and inaction, of Equifax, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      54.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Equifax, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1640(a)(1); [2] statutory damages pursuant

to 15 U.S.C. § 1681n(a)(1)(A); [3] statutory damages pursuant to 15 U.S.C. §

1640(a)(2); [4] after reasonable showing by evidence in the record or proffered by

Plaintiff which would provide a reasonable basis for recovery of such, punitive


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damages pursuant to 15 U.S.C. § 1681n(a)(2); [5] costs and reasonable attorneys’

fees pursuant to 15 U.S.C. §§ 1640(a)(3) and 1681n(a)(3); and [6] any other relief

that this Court deems proper under the circumstances.

                           COUNT 2
  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                  (Against Defendant Equifax)

      55.      Plaintiff incorporates by reference paragraphs ¶¶ 1-54 above of this

Complaint.

      56.      On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681i(a)(1)(A) by failing to conduct

a reasonable reinvestigation with respect to the disputed information.

      57.      On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681i(a)(4) by failing to review and

consider all relevant information submitted by Plaintiff with respect to the disputed

Information.

      58.      On at least one occasion within the past year, by example only and

without limitation, Equifax violated 15 U.S.C. § 1681i(a)(5) by failing to delete the

inaccurate information.

      59.      Additionally, Equifax negligently failed to report the account identified

by Plaintiff as “disputed” in violation of 15 U.S.C. § 168li(c).

      60.      Equifax has negligently failed to comply with the FCRA. The failures


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of Equifax to comply with the FCRA include, but are not limited to, the following:

[a] the failure to follow reasonable procedures to assure the maximum possible

accuracy of the information reported; [b] the failure to correct erroneous personal

information regarding Plaintiff after a reasonable request by Plaintiff; [c] the failure

to remove and/or correct the inaccuracy and derogatory credit information after a

reasonable request by Plaintiff; [d] the failure to promptly and adequately

investigate information which Equifax had notice was inaccurate; [e] the continual

placement of inaccurate information into the credit report of Plaintiff after being

advised by Plaintiff that the information was inaccurate; [f] the failure to note in the

credit report that Plaintiff disputed the accuracy of the information; [g] the failure

to promptly delete information that was found to be inaccurate, or could not be

verified, or that the source of information had advised Equifax to delete; and [h] the

failure to take adequate steps to verify information Equifax had reason to believe

was inaccurate before including it in the credit report of the consumer.

      61.     The conduct, action, and inaction, of Equifax was negligent, thereby

rendering Equifax liable for actual, statutory, and punitive damages, in an amount to

be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      62.     Plaintiff is entitled to recover reasonable costs and attorneys’ fees from

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681(n).

      63.     As a result of the conduct, action, and inaction of Equifax, Plaintiff


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suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      64.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Equifax, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this

Court deems appropriate under the circumstances.

                            COUNT 3
    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                   (Against Defendant Experian)

      65.     Plaintiff incorporates by reference paragraphs ¶¶ 1-25 of this

Complaint.

      66.     Defendant Experian prepared and issued consumer credit reports

concerning Plaintiff which previously included inaccurate and derogatory reporting

of the Account by Defendant ProCollect and continues to include the same

information concerning inaccurate and derogatory reporting of the Account by

Defendant ProCollect.

      67.     In or around November of 2023, Plaintiff checked his credit report and

noticed that there was an inaccurate report from Defendant ProCollect. Therefore, in

or around late November of 2023, Plaintiff reported this inaccurate and derogatory

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information to Experian.

       68.       Defendant ProCollect erroneously verified the Account and the

Account’s balance of $300. Despite Experian having been put on notice of the

inaccurate reporting, Experian did not remove the account from Plaintiff’s Experian

credit report.

       69.       As of the filing of this complaint, Defendant ProCollect’s derogatory

and inaccurate information is still listed on Plaintiff’s credit report.

       70.       Experian is engaged in the business of credit reporting and is commonly

referred to as a “Credit Bureau.” Experian regularly obtains and analyzes financial

information about consumer transactions or experiences with any consumer.

       71.       Experian is a “consumer reporting agency” of consumers, as defined by

§ 1681a(f), and compiles the information into “credit reports,” which it provides to

third parties.

       72.       Despite Experian having received Plaintiff’s dispute of Defendant

ProCollect’s information, Experian continues to erroneously list the Account and the

Account’s balance as $300.

       73.       Continuing to report the status of Plaintiff’s account in this fashion is

significant.

       74.       By continuing to report the status of Plaintiff’s account in this fashion,

lenders believe Plaintiff has a major delinquency which reflects on Plaintiff’s


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creditworthiness by impacting his credit score negatively.

        75.    Credit scoring algorithms take Plaintiff’s account status into

consideration when generating a credit score and showing this incorrect account

status would cause a lower credit score to be generated.

        76.    Experian           failed       to     conduct         a     reasonable           investigation       and

reinvestigation.

        77.    Experian failed to review and consider all relevant information

submitted by Plaintiff.

        78.    Experian failed to conduct an independent investigation and, instead,

deferred to Defendant ProCollect, when they permitted the derogatory information

to remain on Plaintiff’s credit report after Plaintiff’s dispute.

        79.    Experian possessed evidence that the information was inaccurate as

described by Plaintiff in the Dispute; however, Experian failed to correct the

information.

        80.    Experian’s reporting of inaccurate information about the Account,

which is the subject of the Dispute, despite evidence that said information is

inaccurate demonstrates Experian’s failure to establish or follow reasonable

procedures to assure the maximum possible accuracy of Plaintiff’s credit reports and

file.

        81.    Experian did not conduct any independent investigation after it


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received Plaintiff’s dispute and, instead, chose to parrot the information it received

from Defendant ProCollect despite being in possession of evidence that the

information was inaccurate.

       82.     Without any explanation or reason, Experian continues to report this

false, inaccurate, or otherwise incomplete information, about Plaintiff.

       83.     Plaintiff has suffered damages as a result of the incorrect reporting and

Experian’s failure to correct the credit report pertaining to Plaintiff.

       84.     Specifically, Plaintiff was denied a student loan because of the

inaccurate reporting of the Account, which should not even be on Plaintiff’s

Experian report because of 55 West Apartments Complex’s mistake in reporting the

$300 refund via check as a charge on his Experian report.

       85.     On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681e(b) by failing to establish or

follow reasonable procedures to assure the maximum possible accuracy in the

preparation of the credit reports and credit files published and maintained concerning

Plaintiff.

       86.     Experian failed to establish or follow reasonable procedures to assure

the maximum possible accuracy of Plaintiff’s credit reports and credit files when

investigating Plaintiff’s dispute of the information contained in Plaintiff’s Experian

credit report.


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         87.    Experian’s procedures were per se deficient by reason of these failures

in ensuring the maximum possible accuracy of Plaintiff’s credit reports and credit

files.

         88.    Experian has willfully and recklessly failed to comply with the FCRA.

The failures of Experian to comply with the FCRA include, but are not limited to,

the following: [a] the failure to follow reasonable procedures to assure the maximum

possible accuracy of the information reported; [b] the failure to correct erroneous

personal information regarding Plaintiff after a reasonable request by Plaintiff; [c]

the failure to remove and/or correct the inaccuracy and                                            derogatory credit

information after a reasonable request by Plaintiff; [d] the failure to promptly and

adequately investigate information which Experian had notice was inaccurate; [e]

the continual placement of inaccurate information into the credit report of Plaintiff

after being advised by Plaintiff that the information was inaccurate; [f] the failure

to note in the credit report that Plaintiff disputed the accuracy of the information;

[g] the failure to promptly delete information that was found to be inaccurate, or

could not be verified, or that the source of information had advised Experian to

delete; and [h] the failure to take adequate steps to verify information Experian had

reason to believe was inaccurate before including it in the credit report of the

consumer.

         89.    The conduct, action, and inaction of Experian was willful, thereby


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rendering Experian liable for actual, statutory, and punitive damages, in an amount

to be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      90.     Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Experian in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681(n).

      91.     The appearance of the account on Plaintiff’s credit report, namely, the

account identified by Plaintiff in Plaintiff’s dispute to Experian, was the direct and

proximate result of Experian’s willful failure to maintain reasonable procedures to

assure the maximum possible accuracy of Plaintiff’s credit report in violation of the

15 U.S.C. § 1681e(b).

      92.     As a result of the conduct, action, and inaction, of Experian, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      93.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Experian, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1640(a)(1); [2] statutory damages pursuant

to 15 U.S.C. § 1681n(a)(1)(A); [3] statutory damages pursuant to 15 U.S.C. §

1640(a)(2); [4] after reasonable showing by evidence in the record or proffered by

Plaintiff which would provide a reasonable basis for recovery of such, punitive


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damages pursuant to 15 U.S.C. § 1681n(a)(2); [5] costs and reasonable attorneys’

fees pursuant to 15 U.S.C. §§ 1640(a)(3) and 1681n(a)(3); and [6] any other relief

that this Court deems proper under the circumstances.

                          COUNT 4
  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                 (Against Defendant Experian)

      94.     Plaintiff incorporates by reference paragraphs ¶¶ 1-25 and ¶¶ 65-93 of

this Complaint.

      95.     On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681i(a)(1)(A) by failing to

conduct a reasonable reinvestigation with respect to the disputed information.

      96.     On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681i(a)(4) by failing to review

and consider all relevant information submitted by Plaintiff with respect to the

disputed Information.

      97.     On at least one occasion within the past year, by example only and

without limitation, Experian violated 15 U.S.C. § 1681i(a)(5) by failing to delete the

inaccurate information.

      98.     Additionally, Experian negligently failed to report the account

identified by Plaintiff as “disputed” in violation of 15 U.S.C. § 168li(c).

      99.     Experian has negligently failed to comply with the FCRA. The failures


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of Experian to comply with the FCRA include, but are not limited to, the following:

[a] the failure to follow reasonable procedures to assure the maximum possible

accuracy of the information reported; [b] the failure to correct erroneous personal

information regarding Plaintiff after a reasonable request by Plaintiff; [c] the failure

to remove and/or correct the inaccuracy and derogatory credit information after a

reasonable request by Plaintiff; [d] the failure to promptly and adequately

investigate information which Experian had notice was inaccurate; [e] the continual

placement of inaccurate information into the credit report of Plaintiff after being

advised by Plaintiff that the information was inaccurate; [f] the failure to note in the

credit report that Plaintiff disputed the accuracy of the information; [g] the failure

to promptly delete information that was found to be inaccurate, or could not be

verified, or that the source of information had advised Experian to delete; and [h]

the failure to take adequate steps to verify information Experian had reason to

believe was inaccurate before including it in the credit report of the consumer.

      100. The conduct, action, and inaction, of Experian was negligent, thereby

rendering Experian liable for actual, statutory, and punitive damages, in an amount

to be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      101. Plaintiff is entitled to recover reasonable costs and attorneys’ fees from

Experian in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681(n).


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      102. As a result of the conduct, action, and inaction of Experian, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      103. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Experian, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this

Court deems appropriate under the circumstances.

                           COUNT 5
    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                 (Against Defendant Trans Union)

      104. Plaintiff incorporates by reference paragraphs ¶¶ 1-25 of this

Complaint.

      105. Defendant Trans Union prepared and issued consumer credit reports

concerning Plaintiff which previously included inaccurate and derogatory reporting

of the Account by Defendant ProCollect and continues to include the same

information concerning inaccurate and derogatory reporting of the Account by

Defendant ProCollect.

      106. In or around October of 2023, Plaintiff checked his credit report and

noticed that there was an inaccurate report from Defendant ProCollect. Therefore, in

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or around late October of 2023, Plaintiff reported this inaccurate and derogatory

information to Trans Union.

      107. Defendant ProCollect erroneously verified the Account and the

Account’s balance of $300. Despite Trans Union having been put on notice of the

inaccurate reporting, Trans Union did not remove the account from Plaintiff’s Trans

Union credit report.

      108. As of the filing of this complaint, Defendant ProCollect’s derogatory

and inaccurate information is still listed on Plaintiff’s credit report.

      109. Trans Union is engaged in the business of credit reporting and is

commonly referred to as a “Credit Bureau.” Trans Union regularly obtains and

analyzes financial information about consumer transactions or experiences with any

consumer.

      110. Trans Union is a “consumer reporting agency” as defined by § 1681a(f)

of the consumers and compiles the information into “credit reports,” which it

provides to third parties.

      111. Despite Trans Union having received Plaintiff’s dispute of Defendant

ProCollect’s information, Trans Union continues to erroneously list the Account and

the Account’s balance as $300.

      112. Continuing to report the status of Plaintiff’s account in this fashion is

significant.


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      113. By continuing to report the status of Plaintiff’s account in this fashion,

lenders believe Plaintiff has a major delinquency which reflects on Plaintiff’s

creditworthiness by impacting his credit score negatively.

      114. Credit scoring algorithms take Plaintiff’s account status into

consideration when generating a credit score and showing this incorrect account

status would cause a lower credit score to be generated.

      115. Trans Union failed to conduct a reasonable investigation and

reinvestigation.

      116. Trans Union failed to review and consider all relevant information

submitted by Plaintiff.

      117. Trans Union failed to conduct an independent investigation and,

instead, deferred to Defendant ProCollect, when they permitted the derogatory

information to remain on Plaintiff’s credit report after Plaintiff’s dispute.

      118. Trans Union possessed evidence that the information was inaccurate as

described by Plaintiff in the Dispute; however, Trans Union failed to correct the

information.

      119. Trans Union’s reporting of inaccurate information about the Account,

which is the subject of the Dispute, despite evidence that said information is

inaccurate demonstrates Trans Union’s failure to establish or follow reasonable

procedures to assure the maximum possible accuracy of Plaintiff’s credit reports and


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file.

        120. Trans Union did not conduct any independent investigation after it

received Plaintiff’s dispute and, instead, chose to parrot the information it received

from Defendant ProCollect despite being in possession of evidence that the

information was inaccurate.

        121. Without any explanation or reason, Trans Union continues to report this

false, inaccurate, or otherwise incomplete information, about Plaintiff.

        122. Plaintiff has suffered damages as a result of the incorrect reporting and

Trans Union’s failure to correct the credit report pertaining to Plaintiff.

        123. Specifically, Plaintiff was denied a student loan because of the

inaccurate reporting of the Account, which should not even be on Plaintiff’s Trans

Union report because of 55 West Apartments Complex’s mistake in reporting the

$300 refund via check as a charge on his Trans Union report.

        124. On at least one occasion within the past year, by example only and

without limitation, Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish

or follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit reports and credit files published and maintained concerning

Plaintiff.

        125. Trans Union failed to establish or follow reasonable procedures to

assure the maximum possible accuracy of Plaintiff’s credit reports and credit files


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when investigating Plaintiff’s dispute of the information contained in Plaintiff’s

Trans Union credit report.

       126. Trans Union’s procedures were per se deficient by reason of these

failures in ensuring the maximum possible accuracy of Plaintiff’s credit reports and

credit files.

       127. Trans Union has willfully and recklessly failed to comply with the

FCRA. The failures of Trans Union to comply with the FCRA include, but are not

limited to, the following: [a] the failure to follow reasonable procedures to assure

the maximum possible accuracy of the information reported; [b] the failure to

correct erroneous personal information regarding Plaintiff after a reasonable request

by Plaintiff; [c] the failure to remove and/or correct the inaccuracy and derogatory

credit information after a reasonable request by Plaintiff; [d] the failure to promptly

and adequately investigate information which Trans Union had notice was

inaccurate; [e] the continual placement of inaccurate information into the credit

report of Plaintiff after being advised                         by Plaintiff that the information was

inaccurate; [f] the failure to note in the credit report that Plaintiff disputed the

accuracy of the information; [g] the failure to promptly delete information that was

found to be inaccurate, or could not be verified, or that the source of information had

advised Trans Union to delete; and [h] the failure to take adequate steps to verify

information Trans Union had reason to believe was inaccurate before including it in


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the credit report of the consumer.

      128. The conduct, action, and inaction of Trans Union was willful, thereby

rendering Trans Union liable for actual, statutory, and punitive damages, in an

amount to be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).

      129. Plaintiff is entitled to recover reasonable costs and attorney’s fees from

Trans Union in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681(n).

      130. The appearance of the account on Plaintiff’s credit report, namely, the

account identified by Plaintiff in Plaintiff’s dispute to Trans Union, was the direct

and proximate result of Trans Union’s willful failure to maintain reasonable

procedures to assure the maximum possible accuracy of Plaintiff’s credit report in

violation of the 15 U.S.C. § 1681e(b).

      131. As a result of the conduct, action, and inaction of Trans Union, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      132. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Trans Union, awarding Plaintiff the following relief:

[1] actual damages pursuant to 15 U.S.C. § 1640(a)(1); [2] statutory damages

pursuant to 15 U.S.C. § 1681n(a)(1)(A); [3] statutory damages pursuant to 15 U.S.C.


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§ 1640(a)(2); [4] after reasonable showing by evidence in the record or proffered

by Plaintiff which would provide a reasonable basis for recovery of such, punitive

damages pursuant to 15 U.S.C. § 1681n(a)(2); [5] costs and reasonable attorneys’

fees pursuant to 15 U.S.C. §§ 1640(a)(3) and 1681n(a)(3); and [6] any other relief

that this Court deems proper under the circumstances.


                          COUNT 6
  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                (Against Defendant Trans Union)

      133. Plaintiff incorporates by reference paragraphs ¶¶ 1-25 and ¶¶ 104-132

of this Complaint.

      134. On at least one occasion within the past year, by example only and

without limitation, Trans Union violated 15 U.S.C. § 1681i(a)(1)(A) by failing to

conduct a reasonable reinvestigation with respect to the disputed information.

      135. On at least one occasion within the past year, by example only and

without limitation, Trans Union violated 15 U.S.C. § 1681i(a)(4) by failing to review

and consider all relevant information submitted by Plaintiff with respect to the

disputed Information.

      136. On at least one occasion within the past year, by example only and

without limitation, Trans Union violated 15 U.S.C. § 1681i(a)(5) by failing to delete

the inaccurate information.

      137. Additionally, Trans Union negligently failed to report the account
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identified by Plaintiff as “disputed” in violation of 15 U.S.C. § 168li(c).

      138. Trans Union has negligently failed to comply with the FCRA. The

failures of Trans Union to comply with the FCRA include, but are not limited to, the

following: [a] the failure to follow reasonable procedures to assure the maximum

possible accuracy of the information reported; [b] the failure to correct erroneous

personal information regarding Plaintiff after a reasonable request by Plaintiff; [c]

the failure to remove and/or correct the inaccuracy and derogatory credit

information after a reasonable request by Plaintiff; [d] the failure to promptly and

adequately investigate information which Trans Union had notice was inaccurate;

[e] the continual placement of inaccurate information into the credit report of

Plaintiff after being advised by Plaintiff that the information was inaccurate; [f] the

failure to note in the credit report that Plaintiff disputed the accuracy of the

information; [g] the failure to promptly delete information that was found to be

inaccurate, or could not be verified, or that the source of information had advised

Trans Union to delete; and [h] the failure to take adequate steps to verify information

Trans Union had reason to believe was inaccurate before including it in the credit

report of the consumer.

      139. The conduct, action, and inaction of Trans Union, was negligent,

thereby rendering Trans Union liable for actual, statutory, and punitive damages, in

an amount to be determined by a judge and/or jury pursuant to 15 U.S.C. § 1681(n).


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      140. Plaintiff is entitled to recover reasonable costs and attorneys’ fees from

Trans Union in an amount to be determined by the Court pursuant to 15 U.S.C. §

1681(n).

      141. As a result of the conduct, action and inaction of Trans Union, Plaintiff

suffered damage by loss of credit, loss of ability to purchase and benefit from credit,

emotional distress, mental and emotional pain, anguish, humiliation, and

embarrassment of credit denial.

      142. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant Trans Union, awarding Plaintiff the following relief:

[1] actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this

Court deems appropriate under the circumstances.

                            COUNT 7
    WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                  (Against Defendant ProCollect)

      143. Plaintiff incorporates the paragraphs ¶¶ 1-25 and by reference of this

Complaint.

      144. Defendant ProCollect is a company that specializes in debt collection.

      145. In or about October and November of 2023, Plaintiff checked his credit

report and noticed that there was an inaccurate report from Defendant ProCollect.

      146. In or about October and November of 2023, Plaintiff submitted disputes
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of the erroneous and derogatory reporting to Experian, Equifax and Trans Union by

Defendant ProCollect.

      134. In response to the Disputes, Experian, Equifax and Trans Union

promptly and properly gave notice to Defendant ProCollect of the Disputes in

accordance with the FCRA.

      135. As of the filing of this complaint, the Account Balance has continued

to be verified by Defendant ProCollect.

      136. Defendant ProCollect is a “furnisher of information” that regularly and

in the ordinary course of business furnishes information to one or more consumer

reporting agencies about consumer transactions or experiences with any consumer.

      137. On a date better known by Defendant ProCollect, Experian, Equifax,

and Trans Union promptly and properly gave notice to Defendant ProCollect of

Plaintiff’s Disputes in accordance with the FCRA.

      138. In response to the notices received from Experian, Equifax, and Trans

Union regarding Plaintiff’s Disputes, Defendant ProCollect did not and otherwise

failed to conduct a reasonable investigation into the Account which is the subject of

the Dispute.

      139. In response to receiving notice from Experian, Equifax, and Trans

Union regarding Plaintiff’s Disputes, Defendant ProCollect failed to correct and/or

delete information it knew to be inaccurate and/or which Experian could not

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otherwise verify.

      140. Instead of conducting a reasonable investigation, Defendant ProCollect

erroneously validated the Account and continued to report inaccurate information to

Experian, Equifax, and Trans Union.

      141. On at least one occasion within the past year, by example only and

without limitation, Defendant ProCollect violated 15 U.S.C. § 1681s-2(b)(1)(A) by

failing to conduct a reasonable investigation with respect to the disputed

information.

      142. On at least one occasion within the past year, by example only and

without limitation, Defendant ProCollect violated 15 U.S.C. § 1681s-2(b)(1)(B) by

failing to review all relevant information provided by the consumer reporting

agency, Experian.

      143. On at least one occasion within the past year, by example only and

without limitation, Defendant ProCollect violated 15 U.S.C. § 1681s-2(b)(1)(E) by

failing to delete or inform Experian, Equifax, and Trans Union about the inaccurate

information.

      144. Upon information and belief, Defendant ProCollect was aware of the

FCRA obligations to reasonably investigate disputes when it received notice of

Plaintiff’s Dispute.

      145. Defendant ProCollect’s investigation was per se deficient by reason of
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these failures in its investigation of Plaintiff’s Disputes.

      146. As a direct and proximate result of Defendant ProCollect’s violations

of § 1681s-2(b), Plaintiff suffered actual damages, including but not limited to: (i)

money lost attempting to fix Plaintiff’s credit; (ii) denial of financing for home loans

(iii) loss of time attempting to cure the errors in Plaintiff’s credit; (iv) mental

anguish, added stress, aggravation, embarrassment, and other related impairments to

the enjoyment of life such as headaches, irritability, anxiety and loss of sleep; (v)

reduction in credit score; and (vi) apprehensiveness to apply for credit due to fear of

rejection.

      147. Defendant ProCollect’s actions in violation of 15 U.S.C. § 1681s-2(b),

were willful, rendering it liable for actual or statutory damages as well as punitive

damages as the Court October allow and attorney’s fees in an amount to be

determined by the Court pursuant to 15 U.S.C. § 1681n.

      148. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant ProCollect, awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this

Court deems appropriate under the circumstances.

                           COUNT 8
  NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
                 (Against Defendant ProCollect)
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      149. Plaintiff incorporates by reference paragraphs ¶¶ 1-25 and 143-148 of

this Complaint.

      150. On at least one occasion within the past year, by example only and

without limitation, Defendant ProCollect violated 15 U.S.C. § 1681i(a)(1)(A) by

failing to conduct a reasonable reinvestigation with respect to the disputed

information.

      151. On one or more occasions within the past year, by example only and

without limitation, Defendant ProCollect violated 15 U.S.C. § 1681s-2(b)(1)(B) by

failing to review all relevant information provided by the consumer reporting

agencies.

      152. On one or more occasions within the past year, by example only and

without limitation, Defendant ProCollect violated 15 U.S.C. § 1681s-2(b)(1)(E) by

failing to delete the Inaccurate information.

      153. When Defendant ProCollect received notice of Plaintiff’s disputes from

Equifax, Experian, and Trans Union, Defendant ProCollect could and should have

reviewed its own systems and previous communications with Plaintiff as part of its

investigation.

      154. Defendant ProCollect would have discovered that the information it

was reporting about Plaintiff was inaccurate if Defendant ProCollect had reviewed

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its own systems and previous communications with the Plaintiff.

      155. Defendant ProCollect’s investigation was per se deficient by reason of

these failures in Defendant ProCollect’s investigation of Plaintiff’s Disputes.

      156. As a direct and proximate result of Defendant ProCollect’s violations

of § 1681s-2(b), Plaintiff suffered actual damages, including but not limited to: (i)

money lost attempting to fix Plaintiff’s credit; (ii) denial of financing for home loans

(iii) loss of time attempting to cure the errors in Plaintiff’s credit; (iv) mental

anguish, added stress, aggravation, embarrassment, and other related impairments to

the enjoyment of life such as headaches, irritability, anxiety and loss of sleep; (v)

reduction in credit score; and (vi) apprehensiveness to apply for credit due to fear of

rejection.

      157. Defendant ProCollect’s actions constitute negligent noncompliance

with the FCRA rendering it liable for actual damages as well as attorney’s fees in an

amount to be determined by the Court pursuant to 15 U.S.C. §1681o.

      158. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a

judgment against Defendant ProCollect awarding Plaintiff the following relief: [1]

actual damages pursuant to 15 U.S.C. § 1681o(a)(1); [2] costs and reasonable

attorneys’ fees pursuant to 15 U.S.C. § 1681o(a)(2); and [3] any other relief that this

Court deems appropriate under the circumstances.


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Dated: December 21, 2023

                                                                Respectfully Submitted,

                                                                /s/ Jennifer G. Simil .
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                                                                COUNSEL FOR PLAINTIFF




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